                         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF OREGON
                               FTR RECORDING OR TRANSCRIPT DESIGNATION AND ORDER FORM

1. District Court Case No.: 2:24-cv-00362                                        2. Short Case Title: Pearson, et al. v. Port of Morrow, et al.


3. Court of Appeals Case No.:                                                    4. Ƒ
                                                                                    X I do not intend to designate any portion of the
                                                                                 transcript and will notify all counsel of this intention.

5. NAME 3erson2UGHULQJ5HFRUGLQJ7UDQVFULSW                                    6. PHONE NUMBER                       7. DATE
      Abigail Pershing                                                            213-330-7150                           07/24/2024

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   abigailp@hbsslaw.com                        Hagens Berman Sobol Shapiro                      Pasadena                     CA              91101
                                               301 N. Lake Ave. #920
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